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 4                           UNITED STATES DISTRICT COURT
 5                                  DISTRICT OF NEVADA
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     ROSE DESIO,
 7                                                     Case No. 2:20-cv-01486-APG-NJK
           Plaintiff(s),
 8                                                                  ORDER
     v.
 9                                                              [Docket No. 66]
     STATE FARM MUTUAL AUTOMOBILE
10   INSURANCE COMPANY,
11         Defendant(s).
12        Pending before the Court is Plaintiff’s motion to supplement the complaint. Docket No.
13 66. The Court hereby SETS that motion for a hearing on 1:00 p.m. on October 25, 2021, in
14 Courtroom 3C.
15        IT IS SO ORDERED.
16        Dated: October 8, 2021
17                                                          ______________________________
                                                            Nancy J. Koppe
18                                                          United States Magistrate Judge
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